                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
Offshore Spars Co.                          Bankruptcy Case No. 23-44657
                                            Judge Thomas J. Tucker
                    Debtor                  Chapter 11
                                            Subchapter V


   FIRST DAY MOTION FOR ENTRY OF AN INTERIM AND FINAL
 ORDER AUTHORIZING THE DEBTOR TO USE CASH COLLATERAL
           AND GRANTING ADEQUATE PROTECTION

      NOW COMES Offshore Spars Co. (the “Debtor”), as debtor and debtor in

possession, by and through its counsel, Stevenson & Bullock, P.L.C., and hereby

requests that this Court enter an order, substantially in the form attached hereto as

Exhibit 1 authorizing the Debtor to use cash collateral and granting adequate

protection.

      The Debtor, in support of its Motion for Entry of Interim and Final Order

Authorizing the Debtor to Use Cash Collateral and Granting Adequate Protection

(the “Motion”) hereby states as follows:

                                 JURISDICTION

      1.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334.




  23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 1 of 18
      2.     This matter is a core proceeding within the meaning of 28 U.S.C.

157(b)(2).

      3.     Venue of this proceeding and the Motion in this District is proper

under 28 U.S.C. §§ 1408 and 1409(a).

                                  BACKGROUND

      4.     On May 23, 2023 (the “Petition Date”) the Debtor filed a voluntary

petition for relief in this Court under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”).

      5.     The Debtor continues to manage and operate its business as debtor-in-

possession pursuant to, inter alia, § 1184 of the Bankruptcy Code.

      6.     A Subchapter V Trustee has not yet been appointed or designated in

this case.

      7.     Eric Graczyk is the responsible person for the Debtor.

      8.     The Debtor files this Motion pursuant to, inter alia, §§ 363 and 361 of

the Bankruptcy Code; Fed. R. Bankr. P. 4001(b); and E.D. Mich. LBR 4001-2.

                          BACKGROUND AND HISTORY

      9.     The Debtor was established in 1976 and its primary business is

designing and manufacturing carbon fiber and composite masts and booms for the

global superyacht market. The Debtor has additional lines of business including

replacement and service of standing and running rigging for yachts, e-commerce,



  23-44657-tjt   Doc 11    Filed 05/23/23   Entered 05/23/23 11:48:27   Page 2 of 18
and carbon fiber manufacturing for other industries, including the aerospace and

automotive industries.

      10.    In January 2022, the Debtor was acquired by Graczyk Holdings, LLC,

a Michigan limited liability company whose sole member is Eric Graczyk. Not

until after the purchase of the Debtor did Mr. Graczyk discover numerous financial

improprieties, breaches of warranties, and general mismanagement that had

befallen the Debtor under previous ownership.          Though Mr. Graczyk spent

considerable time and effort prior the Petition Date attempting to remedy such

matters, a reorganization of the business through a Subchapter V bankruptcy

became necessary.

      11.    The majority of the Debtor’s value arises from its ongoing operations

and ability to continue to provide goods to its customers. Without authority to use

cash collateral, the Debtor will suffer irreparable harm because it will be forced to

immediately shut down. Without the use of funds, the Debtor will be unable to pay

employees, pay necessary overhead expenses, and maintain its relationships with

customers.

      12.    During the first thirteen weeks of this case, the Debtor projects that it

will need to spend $928,483.00 to avoid immediate and irreparable harm.




  23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 3 of 18
      13.     The Debtor requests authority to spend these amounts in accordance

with the budget attached to this Motion (the “Budget” attached as Exhibit 2), with

a ten percent (10%) variance for each line item and in total.

      14.     On the Petition Date, the Debtor, without admission, believes that the

cash collateral, as defined in 11 U.S.C. §363 (the “Cash Collateral”) consists of the

following:

      • Collectible accounts receivable valued at approximately $34,000.00

      • Available Funds held in bank accounts valued at approximately

            $52,594.44.

                                  NATURE OF DEBT

      15.     Before      the   Petition     Date,   Pathward,   National     Association

(“Pathward”) filed a UCC-1 financing statement against certain of the Debtor’s

assets, including its cash collateral. The Debtor anticipates Pathward will assert a

security interest in the Debtor’s Cash Collateral. The Debtor further anticipates

that Pathward will assert that its security interest and liens have first priority over

all other security interests and liens asserted against the Debtor.

      16.     The Debtor makes no admission and take no position at this time

regarding the validity, enforceability, priority or perfection of any the obligations,

security interests and liens that may be asserted by Pathward.




  23-44657-tjt    Doc 11    Filed 05/23/23     Entered 05/23/23 11:48:27    Page 4 of 18
      17.    The Debtor believes that no entities have an interest in its Cash

Collateral other than Pathward.

                 REQUEST FOR USE OF CASH COLLATERAL

      18.    The Debtor requires the use of Cash Collateral to make such payments

as are necessary for the continuation of its business as shown in the attached

Budget, attached as Exhibit 2. The projected revenue and expenses in the Budget is

based upon historical financial data as well as the current and scheduled projects.

      19.    The Budget projects the Debtor’s anticipated revenue and expenses

and demonstrates the amount of funds the Debtor must expend on its operation on

a monthly basis.

      20.    Without the ability to make the payments as set forth in the Budget,

the Debtor would be unable to continue operating and would be forced to shut

down its operations on an emergency basis. A majority of the Debtor’s value

arises from the on-going operations. Further, an immediate cessation of operation

would cause enormous hardship for all of the Debtor’s customers and employees.

Accordingly, authorizing the Debtor to use its Cash Collateral as set forth in the

Budget is in the best interest of all creditors and parties in interest.

                            ADEQUATE PROTECTION

      21.    As adequate protection under section 363 and 361 of the Bankruptcy

Code for any security interests that Pathward may assert, the Debtor offers



  23-44657-tjt   Doc 11    Filed 05/23/23   Entered 05/23/23 11:48:27      Page 5 of 18
replacement liens (the “Replacement Liens”) in its personal property, now owned

or hereafter acquired and the proceeds and products thereof to the same extent that

such liens existed prior to the Petition Date.

      22.    The Debtor proposes that Pathward be granted the Replacement Liens

as adequate protection to the extent of any diminution in value of the pre-petition

Cash Collateral. The Replacement Liens shall be liens on the Debtor’s assets which

are created, acquired, or arise after the Petition Date, but limited to only those

types and descriptions of collateral in which Pathward held a pre-petition lien or

security interest. The Replacement Liens shall have the same priority and validity

as Pathward’s pre-petition security interests and liens.

      23.    As additional adequate protection of Pathward’s interests under §§

361, 362, 363(e) of the Bankruptcy Code, the Debtor proposes to pay, or cause to

be paid, to Pathward $10,000.00 per month. The first payment shall be due on or

before June 20, 2023 with subsequent monthly payments due on the 20th day of

each subsequent month.

      24.    On the basis of the adequate protection submitted above, the Debtor

submits that it should be granted authority to use the Cash Collateral.

      25.    As part of its request to use Cash Collateral, the Debtor is requesting

that this Court allow it to escrow, on a monthly basis, the total of $5,000.00 into a

specially designated debtor in possession account to pay the professional fees of



  23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 6 of 18
legal counsel employed by the Debtor and the Subchapter V Trustee in connection

with the bankruptcy proceeding to the extent the fees are allowed by this Court (the

“Professional Fees”).

                                       NOTICE

       26.    Notice of this Motion has been provided to the Office of the United

States Trustee, the twenty largest unsecured creditors in each of the bankruptcy

cases, those parties who the Debtor believes has an interest in the Cash Collateral,

Pathward. In light of the nature of the relief requested, the Debtor submits that no

further notice is necessary.

       27.    The Debtor intends to request that the Court consider the interim relief

requested in this Motion on an expedited basis, and has, contemporaneously with

the filing of this Motion, requested the same from the Court as is authorized

pursuant to E.D. Mich. LBR 9013-1(c).

                                   NO PRIOR REQUEST

       28.    No previous motion for the requested relief sought herein has been

made to this or any other court.

                                     CONCLUSION

       29.    The Debtor contends that without authority to use Cash Collateral, it

would need to immediately close, which would have a detrimental effect on the

estate and all of its creditors.



  23-44657-tjt    Doc 11    Filed 05/23/23   Entered 05/23/23 11:48:27   Page 7 of 18
      30.    The entry of an order authorizing the Debtor’s use of its Cash

Collateral will permit it to continue operating, will increase the possibility of a

successful rehabilitation, and will prevent the immediate closure of the its business

operations. Authorization of the Debtor’s use of Cash Collateral is, therefore, in the

best interests of the estate and creditors.

      31.    The entry of an order granting Adequate Protection to Pathward will

permit the Debtor to continue operating, will increase the possibility of a

successful rehabilitation, and will prevent the immediate closure of the Debtor’s

business operations. The granting of Adequate Protection, as set forth herein, is,

therefore, in the best interests of the estate and creditors.

      32.    At this time, the Debtor is only seeking to allow it to use the Cash

Collateral on an interim basis to pay its necessary operating expenses (as outlined

in the Budget) until the court holds a final hearing on the use of Cash Collateral.

To the extent that no parties object to the order authorizing the Debtor’s use of

Cash Collateral after service of the order, the Debtor proposes that the interim

order will become a final order authorizing the use of Cash Collateral going

forward.

      33.    The Debtor further requests that the Court authorize it to use Cash

Collateral in accordance with such modified or supplemental budgets without a




  23-44657-tjt   Doc 11    Filed 05/23/23     Entered 05/23/23 11:48:27   Page 8 of 18
hearing unless an objection is filed within fourteen (14) days after such modified or

supplemental budgets are filed.

      34.    For the reasons set for herein, it is necessary that the Debtor obtains

an interim hearing on the use of Cash Collateral and granting of Adequate

Protection as soon as possible.

      35.    The Debtor has attached a proposed order.

      WHEREFORE, the Debtor respectfully requests this Honorable Court to:

      a.     Enter the order substantially in the form attached hereto as Exhibit 1;

and

      b.     Grant such other and further relief as is just and equitable to the

Debtor.

                          [Signatures on following page]




  23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 9 of 18
                                          Respectfully submitted,
                                          STEVENSON & BULLOCK, P.L.C.

                                          By: /s/ Elliot G. Crowder
                                          Elliot G. Crowder (P76137)
                                          Counsel for Debtor
                                          26100 American Drive, Suite 500
                                          Southfield, MI 48034
                                          Phone: (248) 354-7906
                                          Facsimile: (248) 354-7907
                                          Email: ecrowder@sbplclaw.com
Dated: May 23, 2023
                                          OFFSHORE SPARS CO.

                                          By: /s/ Eric R. Graczyk
                                          Eric R. Graczyk
                                          Its: Responsible Person
Dated: May 23, 2023




 23-44657-tjt   Doc 11   Filed 05/23/23    Entered 05/23/23 11:48:27   Page 10 of 18
                                 EXHIBIT 1




23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 11 of 18
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
Offshore Spars Co.                             Bankruptcy Case No. 23-44657
                                               Judge Thomas J. Tucker
                      Debtor                   Chapter 11
                                               Subchapter V


ORDER GRANTING THE DEBTOR’S FIRST DAY MOTION FOR ENTRY
 OF AN INTERIM AND FINAL ORDER AUTHORIZING THE DEBTOR
    TO USE CASH COLLATERAL AND GRANTING ADEQUATE
                       PROTECTION

        This matter having come before the court on the First Day Motion for Entry

of an Order Authorizing the Debtor to Use Cash Collateral and Granting Adequate

Protection (the “Motion”)1 filed by Offshore Spars Co. (the “Debtor”); after notice

and hearing, the Court having reviewed the Motion;

        THE COURT HEREBY FINDS:

        A.     On May 23, 2023, (the “Petition Date”), the Debtor filed for relief

under Chapter 11 of the United States Bankruptcy code (the “Bankruptcy Code”).

        B.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334.




1
       Capitalized terms used but not defined herein shall have the meanings as set
forth in the Motion.


    23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 12 of 18
      C.     The Court consideration of this Motion constitutes a core proceeding

as defined in 28 U.S.C. §§ 157(b)(2)(A),(K) and (M).

      D.     The procedures set forth in this Order, constitute sufficient “notice

and hearing” under Section 102 and 363(c) of the Bankruptcy Code, Bankruptcy

Rule 2002, 4001, 6004 and 9006. This Order is being entered on an interim basis

pursuant to Bankruptcy Rule 4001 and is expressly subject to the rights of parties

in interest to object as specifically provided in paragraph 11 below. The Debtor

requires funds to pay expenses in connection with maintaining operations,

including paying employees, continuing production of current products, and

providing service to its customers. Failure to pay these and similar critical

expenses would cause the Debtor immediate and irreparable harm by disrupting its

ability to maintain operations.

      E.     The Debtor does not have sufficient unencumbered funds to meet

these expenses. Accordingly, it requires authorization to use Cash Collateral to

avoid immediate and irreparable harm. The amount of cash the Debtor proposes to

use before entry of a final order granting the Motion (including adequate protection

payments as authorized under this Order) is set forth in the Budget attached to the

Motion. Specifically, during the first thirteen weeks of this case, the Debtor

projects that it will need to spend $928,483.00.




 23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 13 of 18
      F.     The legal and factual bases set forth in the Motion establish just cause

for the relief granted herein.

      Therefore, IT IS HEREBY ORDERED that:

      1.     The Motion is granted.

      2.     The Debtor is authorized to use Cash Collateral and grant adequate

protection in accordance with the terms of the Motion.

      3.     To avoid immediate and irreparable harm before the date of the final

hearing or the date this order becomes a final order in the absence of a timely

objection and final hearing, the Debtor is permitted to use Cash Collateral in the

amount of $_________ and its authorized use of Cash Collateral is limited to that

amount prior to the entry of a final order authorizing the Debtor to use Cash

Collateral or the time this Order becomes a final order, as the case may be. Pending

a final order, the Debtor may use Cash Collateral in accordance in the amounts set

forth above in accordance with the Budget, with a ten percent (10%) variance for

each line item.

      4.     To the extent of any diminution in value of the pre-petition Cash

Collateral, Pathward is hereby granted the following Replacement Liens as

adequate protection. The Replacement Liens shall be liens on the Debtor’s assets

which are created, acquired, or arise after Petition Date, but limited to only those

types and descriptions of collateral in which Pathward held a pre-petition lien or



 23-44657-tjt     Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 14 of 18
security interest. The Replacement Liens shall have the same priority and validity

as the pre-petition security interest and liens.

      5.     As additional adequate protection of Pathward’s interests under §§

361, 362, 363(e) of the Bankruptcy Code, the Debtor will pay, or cause to be paid,

to Pathward $10,000.00 per month. The first payment shall be due on or before

June 20, 2023 with subsequent monthly payments due on the 20th day of each

subsequent month.

      6.     Pathward is adequately protected.

      7.     Nothing in this Order constitutes an admission by the Debtor or

prejudices the rights of the Debtor to challenge the amount, validity, enforceability,

priority or perfection of any liens or security interests asserted by Pathward and

any other party asserting a security interest in Debtor’s assets.

      8.     The Debtor is authorized to escrow Professional Fees, as more fully

set forth in the Motion.

      9.     The Debtor shall, within twenty-four (24) hours following the entry of

this order, serve copies of this order and the Motion, with all attachments, on each

of the Debtor’s 20 largest unsecured creditors, Pathward, the United States

Trustee’s Office, the Subchapter V Trustee, and all other parties who are required

to be served under Fed. R. Bankr. P. 4001(d).




 23-44657-tjt   Doc 11     Filed 05/23/23   Entered 05/23/23 11:48:27   Page 15 of 18
      10.    All parties seeking to object to this Order must file a written objection

within fourteen (14) days after the entry of this Order, except that an official

committee may file objections within fourteen (14) days after the official

committee is served with the entered Order. If an objection is timely filed, the final

hearing on this Order will be held before the Honorable _________, on

      , 2023 at             a.m/p.m. If no timely objection is filed, then this Order

will become a final order without a further hearing, and the Debtor will be

authorized to spend for those expenses referenced in the Motion, as well as any

other expenses necessary for operating the business in the ordinary course going

forward.

      11.    The Debtor’s use of Cash Collateral shall conform to the amounts set

forth in the Budget with a ten percent (10%) variance. It may file with the Court

modified or supplemental budgets from time to time and shall be authorized to use

Cash Collateral in accordance with such modified or supplemental budgets without

a hearing unless an objection is filed within fourteen (14) days after the such

modified or supplemental budgets are filed. The Debtor’s authority to use Cash

Collateral shall continue otherwise ordered by this Court.

      12.    This Court retains jurisdiction to enforce and interpret this Order.




 23-44657-tjt     Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 16 of 18
                                 EXHIBIT 2




23-44657-tjt   Doc 11   Filed 05/23/23   Entered 05/23/23 11:48:27   Page 17 of 18
Monthly Cash Flow
Month Ending                                                                             May                June             July           August
                                                                               (Petition Date - 5/31)
CASH ACTIVITY
                Beginning Cash Balance                                         $          52,594.00     $   62,025.00   $   66,686.00   $   69,783.00
                Receipts:

                                 A/R Cash Receipts
                                                 Mast & Booms                  $                -       $ 148,936.00    $ 116,530.00    $ 95,830.00
                                                 Light Poles                   $          18,965.00     $ 33,565.00     $ 43,292.00     $ 45,745.00
                                                 E-Com                         $          12,166.00     $ 23,700.00     $ 26,500.00     $ 27,500.00
                                                 Retail                        $           3,800.00     $ 33,000.00     $ 33,000.00     $ 33,000.00
                                 Total A/R Cash Receipts                       $          34,931.00     $ 239,201.00    $ 219,322.00    $ 202,075.00

                                 Deposits
                                                  Deposits - Retail            $                 -      $   12,500.00   $   12,500.00   $   12,500.00
                                 Total Deposits                                $                 -      $   12,500.00   $   12,500.00   $   12,500.00

                                 Other - MANUAL INPUT
                Total Receipts                                                 $          34,931.00     $ 251,701.00    $ 231,822.00    $ 214,575.00


                                 Inventory Purchased
                                                 Masts & Booms                 $                 -      $   51,318.00   $   55,067.00   $   26,750.00
                                                 E-Com                         $                 -      $   17,775.00   $   19,875.00   $   20,625.00
                                                 Retail                        $                 -      $   11,550.00   $   11,550.00   $   11,550.00
                                 Total Inventory Purchased                     $                 -      $   80,643.00   $   86,492.00   $   58,925.00

                               Total Recurring Disbursements + Debt Service    $          25,500.00     $ 166,397.00    $ 142,233.00    $ 142,233.00
                Total Disbursements                                            $          25,500.00     $ 247,040.00    $ 228,725.00    $ 201,158.00

                Ending Cash Balance Monthly                                    $          62,025.00     $   66,686.00   $   69,783.00   $   83,200.00




RECURRING DISBURSEMENTS


                Advertising                                                    $                 -      $    2,500.00   $    2,500.00   $    2,500.00
                Automobile Expense
                                 Fuel                                          $                 -      $     625.00    $     625.00    $     625.00
                                 Maintainence                                  $                 -      $     288.00    $     288.00    $     288.00
                                 DOT/License
                Bank Charges                                                   $                 -      $     610.00    $     610.00    $     610.00
                Insurance
                                 Auto                                          $                 -      $      265.00   $      265.00   $      265.00
                                 Health Insurance Stipend                      $                 -      $    1,850.00   $    1,850.00   $    1,850.00
                                 Property Liability                            $                 -      $    1,280.00   $    1,280.00   $    1,280.00
                                 Umbrella                                      $                 -      $      210.00   $      210.00   $      210.00
                                 Workers Comp                                  $                 -      $      654.00   $      654.00   $      654.00
                Moving expense
                Office Expense                                                 $                -       $      650.00   $      650.00   $      650.00
                Payroll                                                        $          22,000.00     $   74,040.00   $   59,232.00   $   59,232.00
                Payroll Processing
                Payroll Taxes - Employer                                       $            3,500.00    $   10,445.00   $    8,356.00   $    8,356.00
                Postage & Delivery                                             $                 -      $    7,500.00   $    6,000.00   $    6,000.00
                Rent                                                           $                 -      $   16,150.00   $   16,150.00   $   16,150.00
                Repairs & Maintainence
                                 Lawn/Snow                                     $                 -      $      260.00   $      260.00   $      260.00
                                 Other                                         $                 -      $      335.00   $      268.00   $      268.00
                Professional Fees                                              $                 -      $   22,500.00   $   18,000.00   $   18,000.00
                Property Taxes
                Shop Consumables                                               $                 -      $    6,000.00   $    4,800.00   $    4,800.00
                Software & Licenses
                Telephone/Internet/Technology                                  $                 -      $    1,620.00   $    1,620.00   $    1,620.00
                Utilities
                                 Electric                                      $                 -      $    3,500.00   $    3,500.00   $    3,500.00
                                 Gas                                           $                 -      $    3,000.00   $    3,000.00   $    3,000.00
                                 Trash                                         $                 -      $      325.00   $      325.00   $      325.00
                                 Water                                         $                 -      $      650.00   $      650.00   $      650.00

                Other

Total Recurring Disbursements                                                  $          25,500.00     $ 155,257.00    $ 131,093.00    $ 131,093.00

Debt Service
               Ford Explorer                                                   $                 -      $    1,140.00   $    1,140.00   $    1,140.00
                Pathward Loans                                                 $                 -      $   10,000.00   $   10,000.00   $   10,000.00
Total Debt Service                                                             $                 -      $   11,140.00   $   11,140.00   $   11,140.00

Total Recurring Disbursements + Debt Service                                   $          25,500.00     $ 166,397.00    $ 142,233.00    $ 142,233.00



23-44657-tjt               Doc 11             Filed 05/23/23                  Entered 05/23/23 11:48:27                                 Page 18 of 18
